Franchise Tax Board
P.O. Box 942867
Sacramento, CA 94267

IRS
Centralized Insolvency Operations
P.O. Box 7346
Philadelphia, PA 19101-7346

IRS
301 N. Los Angeles Street
MS 5021
Los Angeles, CA 90012

United States Department of Justice
Civil Trial Section Western Division
Box 683 Ben Franklin Station
Washington D.C. 20044

United States Attorney
Civil Division
450 Golden Gate Avenue
San Francisco, CA 94102-3400




Case: 24-40726      Doc# 2     Filed: 05/16/24   Entered: 05/16/24 13:57:25   Page 1 of 1
